
698 S.E.2d 661 (2010)
STATE of North Carolina
v.
Rashidah Muhammad GREENE.
No. 144P10.
Supreme Court of North Carolina.
June 16, 2010.
Charlotte G. Blake, Boone, for Rashidah Muhammad Greene.
John P. Barkley, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed on the 6th of April 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
